EXHIBIT AA

Excerpts and Exhibits from the Deposition of Dr.
David W. Peterson in the State Redistricting Cases

Case 1:13-cv-00949-WO-JEP Document 81-1 Filed 07/03/14 Page 1 of 16
David W. Peterson, Ph.D. June 4, 2012

 

 

Margaret Dickson, et al. v. Robert Rucho, et al. 11 CvS 16896 & 11 CvS 16940
( . Page 114
yeood A, If that was the only information that the map
2 drawer relied upon, yes. However, you might want i
3 to look at Table P3. !
4 Q. I'm looking at your fourth affidavit which is your
5 analysis of the Ist Congressional District. And is
6 it fair for me to assume that the analysis you did
7 on the 12th District in terms of the way you
8 conducted the analysis is identical to the way you
9 did the analysis of the ist Congressional District?
10 A. Yes. H
11 Q. So all of the assumptions or limitations of the
12 analysis we've just discussed would apply equally :

|

to the analysis of the ist District?

  

14 A. Yes.

15 Q. Tf you ‘will look at Table P5.1 on page 6 and,

SE

 

16 again, if you look at the intersection of black i
1? voting age population and the election data for the
18 presidential race in 2008, the intersection of :
19 these two sets of data do not favor the Race or the
20 Political Hypothesis; is that true?
21 A. They come in each with six segments in support.
22 Q. Which means that neither hypothesis better accounts

23 for the boundary of the lst District than the other

24 with regard to that comparison?

 

ws) A. That's correct.

    

     

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ESSA PETS Ee
STATE OF NORTH CAROLINA IN THE GENERAL COURT OF JUSTICE
COUNTY OF WAKE SUPERIOR COURT DIVISION
, 11 CVS 16896
11 CVS 16940
MARGARET DICKSON, ef al.,

Plaintiffs,
Vv.

ROBERT RUCHO, in his official capacity

only as the Chairman of the North FOURTH AFFIDAVIT OF PLAINTIFFS’
Carolina Senate Redistricting ; STATISTICAL EXPERT
Committee, ef al.,

Defendants. DAVID W. PETERSON, PhD

 

FIRST CONGRESSIONAL DISTRICT

NORTH CAROLINA STATE CONFERENCE SEGMENT ANALYSIS

OF BRANCHES OF THE NAACP, et |::
al,

Plaintiffs,

 

Vv.
STATE OF NORTH CAROLINA, ef al,

Defendants.

 

 

L, David Peterson, being first duly sworn, depose and say:

1. Lam over 18 years of age, legally competent to give this affidavit and have personal
knowledge of the facts set forth in this affidavit. My qualifications and recent testimony are set

forth in each of my First and Second Affidavits in this case.

Charge
2. Iam asked by counsel for Plaintiffs in this matter to verify and interpret the results of

a “Segment Analysis” of North Carolina’s 1 Congressional Voting District defined by “Rucho-

 

‘ Segment Analysis is described in Peterson, David W., “On Forensic Decision Analysis,” Journal of
Forensic Economics, Vol. XVUI, No. 1, Winter 2005, pp. 11-62, and also in Peterson, David W.,

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Lewis Congress 3”, an analysis performed by staff at the Southern Coalition for Social Justice
under the direction of Mr, Chris Ketchie, designed to test whether the boundary of that district
appears to have been chosen more on the basis of racial considerations than on political

considerations.

Conclusions

3. [reviewed the steps undertaken in the Segment Analysis and determined that the
calculations were correctly done. The analysis indicates that racial considerations better account
for the boundary definition of the 1 NC Congressional Voting District than do party affiliation

considerations. There is no indication that party affiliation dominated racial considerations.

Sources

4, The information on which my opinion is based is primarily District_I.csv, a data file
created and conveyed to me by Chris Ketchie on May 8, 2012. The file was created by a
computer script originally written by Damian Maddelena, but modified by me before Mr.
Ketchie used it to create District_{.csv. The information contained in the data file is a table,
each row of which pertains to a segment of the boundary of the 1* District, and indicates, among
other things, the fraction of the people residing in the precinct just outside the 1*' District who are
black, as-well as the fraction of the population who are democrats. The analogous information is
provided for people living in the neighboring precinct Just inside the 1“ District. The pertinent
parts of the file are printed out in Appendix A. [also rely on a map provided to me by Mr.
Ketchie, which I used to identify instances in which the precincts involved in this study touch

one another at just a single point.

 

Why Did They Do That? An Introduction to Forensic Decision Analysis, Lulu Press, 2007, Segment
Analysis was used by defendants in the North Carolina redistricting litigation arising from the 1990
census (Hunt, Governor of North Carolina, et al. v. Cromartie et al., 526 U.S. 541 (1999) and
Easley, Governor of North Carolina, v. Cromartie, et al., 532 U.S. 234 (2001)).

2 «Rucho-Lewis Congress 3” was enacted as Session Law 2011-403 by the North Carolina General
Assembly on July 28th, 2011.

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. Review
5, [have studied the data and computer program mentioned above, discussed them with
Mr. Ketchie, and verified a sample of the calculations. I believe they properly execute the

studies described below.

Segment Analysis Rationale

6. Segment Analysis rests on the observation that if the boundary of a voting district is
chosen with the object of encompassing large numbers of black residents, then at least some
portion of that boundary must separate a geographic region with a large representation of black
residents from a region with a smaller representation, the region with the larger representation
being included within the voting district. The analogous observation holds with respect to
political affiliation — a voting district defined with the object of collecting democrats within must
on at least some portion of its boundary separate a geographic region with a large representation
of democrats from one with a smaller representation, the area with the larger representation
being inside the voting district. Segment analysis breaks down the border of a voting district into
many pieces, and examines whether, based on the race and political behavior of residents just
inside and outside each segment, the overall pattern suggests that, as between race and political

affiliation, one consideration dominated the other in the process that defined the voting district.

Analysis. ©

7, The boundary of District 1 was divided into the segments corresponding to the
precincts inside and out that form its border, Each such segment separates a precinct inside the
district from a precinct outside the district. Map 1 depicts the precincts involved in this process.
For each segment, we noted whether the proportion of residents of the inside precinct who are
black is greater than the proportion of residents of the outside precinct who are black. We called
segments for which this relationship holds “Type B”. We also, for each segment, noted whether
the proportion of residents of the inside precinct who are democrats is greater than the proportion
of residents of the outside precinct who are democrats. We called segments for which this

relationship holds “Type bp”?

 

3 Included in the study are all segments having positive length; all segments of zero length (which occur
where an inside precinct touches an outside precinct at only a single point) are excluded.

3

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8. If a segment is of Type B, it lends support to the proposition that it was chosen at least
in part because it serves to aggregate biack people into the 1" District. Similarly, a Type D
segment lends support to the proposition that it was chosen at least in part because it serves to
aggregate democrats into the District. A segment that is both of Type B and of Type D, lends
support to both propositions, and therefore is of no help in distinguishing which consideration
may have dominated. Likewise, a segment that is neither of Type B nor of Type D reveals
nothing about which of the two propositions may have dominated in the choice of that segment

by the legislature.

9, The remaining segments are either a) Type B and not Type D or else b) Type D and
not Type B. A segment of the first sort supports the proposition (the Race Hypothesis) that it
was chosen at least in part because it serves to collect blacks into the 1" District, and it militates
against the proposition (the Political Hypothesis) that the segment was chosen because it serves
to collect democrats into the District. We cail such a segment a Race (or Type R) segment,

because it supports the Race Hypothesis over the Political Hypothesis.

10. A segment of the second sort (Type D and not Type B) has an analogous
interpretation. Such a segment supports the proposition (the Political Hypothesis) that it was
chosen at least in part because it serves to collect democrats into the 1° District, and it militates
against the proposition (the Race Hypothesis) that the segment was chosen because it serves to

collect blacks into the District. We call such a segment a Party (or Type P) segment.

11, In all, there are 253 segments to the border of the 1* District.* But whether a given
segment is of Type R, of Type P, or of neither type depends on just how one measures the racial
composition of residents in a precinct, as well as how one measures the party preferences of a

precinct’s residents.

 

4 While these 253 segments encompass very nearly the entire boundary of the 1° District, there are a few
gaps. These occur when the district line cuts through a precinct rather than following the precinct
boundary. These gaps could not be included in the analysis because data on voting behavior are not
available at the sub-precinct level.

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12. We used three different measures of the racial composition of the residents of each
precinct:

a. the proportion of people living in the precinct who, in the 2010 US Census, reported

their race as black or partially black;

b. the proportion of the people of voting age living in the precinct who, in the 2010 US

Census, reported their race as black or partially black; and

c. the proportion of registered voters living in the precinct who are registered as blacks.

13. We used four different measures of party preference for the residents of each
precinct:

a, the proportion of registered voters living in the district who are registered as

democrats;

b. the proportion of people living in the district and voting for Governor in 2008 who

voted for the democratic gubernatorial candidate;

c. the proportion of people living in the district and voting for President in 2008 who

voted for the democratic presidential candidate; and

d. the proportion of people living in the district and voting for US Senator in 2010 who

voted for the democratic senatorial candidate.

14, We used each of the three measures of race cited in {12 above in conjunction with
each of the four measures of party preference cited in 113 above, producing a total of twelve
different segment analyses of the boundary of District 1. The results are summarized in Table

P5.1 and graphed in Figure P5.1.
15. In two of the twelve studies the number of segments supporting the Political

Hypothesis exceeds the number of segments supporting the Race Hypothesis. There are two

studies in which there are equal numbers of Type R and Type P segments. In the other eight

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“Table P5.1. Tallies of District 1 Segments by Race and Party Types

 

 

 

 

 

 

 

_ Re gistered Voted for Democrat:

_ Democrat 2008 Governor | 2008 President 2010 US Senate

Race Party Race Party Race Party Race Party
Black Population 15 5 8 9 8 8 11 8
Black Voting Age Population) 15. 4 7 g | 6 6 9 6
Black Registered Voters “20/7 7 6 6 4 9 4

Sources District_l DWP Edit.xisx

studies, there is more support for the Race Hypothesis than for the Political Hypothesis, and in
each of these eight, the imbalance is more pronounced than in either of the two studies favoring

_the Political Hypothesis.

16. While the classification of a segment as Type R or Type P depends on just how one

characterizes its precincts’ racial and political populations, there are just two segments which are

 

unequivocal across all twelve studies -- one of these is invariably of Type R, the other of Type P.

17. The studies above may be compared with a similar study undertaken of North
Carolina’s 12" Congressional District in the wake of the 1990 census and the ensuing litigation
cited in Footnote’ { above. In that case, the dozen studies analogous to those depicted in Table
PS.1 resulted in seven instances favoring the Political Hypothesis, three favoring the Race
Hypothesis, and two ties. Thus, while this earlier study on balance favored the Political

Hypothesis, the results in Table P5.1, in contrast, favor the Race Hypothesis.

Conclusions

18. Ireviewed the steps undertaken in the Segment Analysis and determined that the
calculations were correctly done. The analysis indicates that racial considerations better account
for the boundary definition of the 1 NC Congressional Voting District than do party affiliation

considerations. There is no indication that party affiliation dominated racial considerations.

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aur W PirRee

avid W, Peterson

‘State of NORTH CAROLINA
County of DORHAM

I certify that the above person personally appeared before me this day, acknowledging to

me that he voluntarily signed the foregoing document for the purpose stated therein and in the

capacity indicated:

Date: Mm 4 © 201g.
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Notary’s Printed or Typed Name:

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(Official Seal)

 

Carolyn V Rhodes
NOTARY PUBLIC
Durham County, NC

 

 

 

 

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Case 1
 

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Case 1
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ozesr'o «0 gasoso) ZdegoO | SBZ99'0 «= ezdeO |= OSSZEO |= -BEVEEO “esvo'0 «= «GPS9I «6 wSed20 «= SPRZ'O) On éSBSG |=6OTBESSO) |= (OEP LS'O ASLETLE WIESTLE = SET
goget'o [ssplo eZ9veo sézrro 6 6s89zoO )§6—TSZPO.O)§=— Oe BOTOcBScod ersso'o «= gS6Z20 4 69SrBL0 60 PZSBSO|TBESS'O |= (EH LSO WaS60LE W1é8TZE = ree
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6IZPEO 9FSZE0 B9LTSO B6Pcs0 SEOPEO EG9EEO sLeTEO f2SZ70 Gereggo zseLeo o5PErO) 6 6optseso)6TGESSO 6 (OE PZS0 SENVAETOLE WIZ8TLE 9 Zaz
pisvso e609T0 9z9r90 zECLIO GTTEPO Saeed §=6(DESOPO gtzezo §6 Ggegz0)=szoos'o)6=CC TESTE 860 geR990 )§= SBORSO = S909" MHISTETLE gsetée Tce
TSEISO = F46TS'O }§=—s BTEON'O «= STGBSD |= PZTSE'O | CT PEO correo «|gizeco sg69f0 SZ0080 TESTS’O 468990 sPogs'O = 53909°0 CTEGIOLE osetze = 02e
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OSEfP'O OTRBFO | 6PePSSO |6LzOTN'D «= TETAZEO 86IGPEO ©=—-SSSSEO £99790 = eTS9"D )«= SOGELO 860 GBBTLO |= ZaPGPO 6OBARLEO  SREBEO AWATSTLE CHSTSTLE = TS
pIsrs0 60950 979P9'O ZETAOO BIZEVO 984860 OFSCFD jéo9cad 7tsoo §6©6 SOSEZ'O «= GBRTZO | LEGO | 60GLBLEO | SBEGE'O MHISTSTLE CHSTSTLZE = = STS
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e9eTSO S4é75°0 SLED9O STOPIO GRSSE'O “estoro sz00eO jeLaTSs'O ‘ogsz9'0 «olyseoo) «= EZTTZ.O = GETSS'O §= 806090 =— TATZS'0 SSVSLLOLE 9SSINMATST£c = ETC
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OTpzZE0 z9BPEO ScOSWO PENGED szB9TO EL9STO caer Igeepo zesero yse0cO SrlLsO 6(OPZIEC 6SHZEED §=—-EOPFEO SCOTTLPELE TOTTLPTLE = = £02
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EZi6vO BZreS'O ZOZI9O Plasso TIT6ed MEsee'O YISATH'O yasez0 «6 BOTOR’O «= ares «6 SES «= ZTZ6S0 «= ESZ“S'O ETETIO TOTOLPILE pOSTLbTZe E0e
pstas'0 «6 sp9ZS'D-CEZETLO | OC GZBPLO | «SSS4SO «6 OT PSO |= SzbSS'a = j70ESoO geesoo) 6 ZESPL'O «= 94R6SO «= BSOGTO |= SEBRO | LLB O TOPOLVTLE Toeosrtze coz
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giz9v'0 «= BOLSETO |= GESBP'O | ZOLEWO |= SEGRTO «= ZOLLTO SETAT'O /SSHS9O ofger'o 86 S£9T9O C6850 6gscceo eTezeo PLoeed OH-MINEPTZE WWHHVdEPTLE = 868
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QEforo stesea sstego g4zE20 8 oOOs7;O 864SoBTO =6TeteT 0 sspsr'o 6 oe BBPTO. | SZST9O )«=oZBTHSG GREEEO |6ETEZE'O) |= POE O ONYVOINEPTZE = IAWEVdEPTZE = 9ST
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TEZEE'O SGEPE'D TZasrG f0StrO0 SSESTO EZ2hTO Beebl’O Eras oO ovZe9@ «9904890 «= BERISO 6PATGEO | 6OaSrerO) | OT PSErO HO6COLE WI6ETZE = vet
O9zse’o }« ABT9E'O «= ZOSSP'D |= BZTZyhO | «SORT O | 6SUSAT'O §=—-BOGATO 8BST9'O cos99'o }=oenesO |= ESOETO Trosr'a = agszto.)|8=— 904600 XINGETLE VEGETLE = E6T
BfZ79T0 «OLDE «GESRWO |= ZOZEP'O §=6BEOSTO GALT O | -BETLTO Stsoro0 6 zpoero |= TS965°0 OSE6P'O  OLDDED TrtZeO 8 vesez0 GH-MANEPTLE HINGETZE = CET
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Case 1
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gEs/F0 Gzsts'O s8gs9SO SEORS'O ECCTFO OSPde0 ESZ76EO [SIT 760 pescea 6 epBoG'a = /Z6TS'O | OPGSPEO | 60 GBzIIO EPPO GLadS6T Ze UANedSETZE = =—- SZ
afsevO «f8£fZ0 « BPOLE'O «= GOZERO 60 ZBOPTO §=g04Z@TO )«=COTEET'O «IzPSso"0)—PELLOO 998690 = 87690 6969s) «= EZvTSO 80 eeceso THudS6TLE WMudS6TZE = TSE
PEtTPS0 6t6ZS0 Tssz9'O ZE9SSO EOTIP'O Oleseo eraLeO |40S960  66456'0 LSZ960 EceoeO s4s9EeO E06ELO O6PEL0 ASYdSETLE HAAMdSSTLE = TSZ
OLs6z0 «6 ZBZLTO|BPSZEO )«=GOLEP'O «0 TBOPTO ©=—EQZZTO «=COTEETO =|40596°0 = BELE6'0 |= LECSG'O ece9e'o = AS9E6'O }=— EOGEL'O OG PBLO VWHdS6TZE “HMudSETZE OSE
pezpso 6 6zaG7S'0 )«TSSz79O «=OzE96S'O |= EDTTVO | 60OCOTESEO = EPOLEO =| LSerod Oorse0 BrrvG'O ZSTAB0 ~@S6TSO BATSB'O cC8oERO ASHdS6TLE NMudS6ETLZE = GPE
St6ip'0 6ZRis’O 885950 Seossd Ezztro oOsréeO eSt6EO jeecerO ObTTZ 0 pseeszo 86 TOOL «6 @eeo90 §60eSSoSa 6 Oe TBO OLNdS6TLE EMYdS6tLE = BFE
LSvveO «9 POLSE'O }«=BEZOP'O }©=SEBOSO «= GAPTO }8=606ASSTO OCTWESTO «/8E8280 8676880 ocere'o «6 BOET HO }=ZGTOBO |= BOPZLO = ZEeLO SAWdSETLE DMYdSETLE LET
Sesto OLZS7'O ZBLEEO EE"IEO PESTTO 9G6ETO PETPTO |Tess90 §86EEDc90 seTs9q 4 6zT88S0 «6 STGES OO |=OePRLP OO (OZ PStrO PITGTLE ETTSTZE = Oe
LE7SEO ESL9P0 RSSTSO BSTTPO 946970 ePlEca O8PPeO |[Tzs99'0 fE0L90 g6te9o 6 éTBSSO 060 TGESO 6c O Ot Par'O EZTSTLE ETT6TZE = She
6E42e'0 ER0TPO sSPOS'O TE¢érO 4ez0e0 § OLT8ZO «= EOLET'O «[BTTAWO |= L6GN0 SéeSc0 * O6E0S'O S4ZPEO 8 L69fE0 TrEseO SOTETLE eTTéTZe §=—s FRE
LE7BEO «8SL9"'0 «BSITSO «60STIPO §«6gZE9TO )«=OEWTEZO §«=OBPRE «ercesO |= dceba'O = TTOS0 Orero'o «= STOTS'O ATAZS' Ss SBSSSO ECTOTLE Teverée Eve
LEZBEO «9ESL9"'D «= BSOTS'O|«SSTTP'O «6 g4e9tO0 |= EPTETO | OOBPHEO /estarO 6Iotr'O «| SégsSO0 8 T99rSD «6 PTTEGCO 6 Ged0E | TST PEO ECTETZE CCTetze = cet
6ELLEO «BOZO | 6BSPOSO |= TELLH'O | LZERE'O oftgszo 6 eoeszO0 OClfPPZEO) 6 gezSe'0 §«6=sTe6GbYG |= IS6TPO 60Tes77O |= LZBTT OO OFPGSTCO JOTELLE LOTETLE = THE
@SESTO sOreTO 90zOrO 86ZéPeEO | 6LETZTO §60S969TO )8=eHTLTO [érrze'o | f6cOEO Te6rrO 8«6T66ThO 86reSTe AZGTZO peste’o ZOTSTLE LOT6TLE = OWE
geree0 656/70 98STPO Sas6fO OELZLTO STESTO 6ShSsTO | jérhcEO E629E0 Te6rr0 Té6etrO ‘Teszzo Le6tco PESTZO STIGTZE LOT6TLE GEE
LE79E0 €S29P0 859TSO OSTTPO 946970 ePlEZzO aBrPZ'O j40Sz60 56560 qo7Teo 8= BT aoe Oo = ZPEVEO pOET£O © 08999"0 ECTSTLE _ STT6TLE BEC
ZOOEZ'0 OSOLT'O TESEE'O OZTZEO PETETO cy9eTO TegeTO jTs9/90 = =6ATOLL0 foTsz0 «= PELTLO ©=60eTLPOLO «= SGOTLO PSEPLO SOT6TLE OTT6TZE LEZ
Zévz7zo. | USOLZO |= AEZLETO OPA «THT 6OCoeeszO azz =jtsazg'o = eT9éf'0 LOTELO pEeéT£O 7iv0L0 SéOTLO vSEPe0 60T6TLE OLL6TZE —9EZ

OTNSS 80Saud S0A09 Saud O3ua dVAG dOda OTNaS B0S3uld 80A0D 5dY0 SJug dvAg doda Pupssdapising —Ua1daplsu] bag

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